                   Nos. 23-11528, 23-11644


In the United States Court of Appeals for the
              Eleventh Circuit

                    STATE OF FLORIDA,
                               Plaintiff-Appellee,
                              V.


            UNITED STATES OF AMERICA, ET AL.,
                              Defendants-Appellants.


                  ON APPEAL FROM THE
             UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF FLORIDA
              Nos. 3:21-cv-1066, 3:23-cv-9962


        APPELLEE’S SUPPLEMENTAL BRIEF


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                                              Nos. 23-11528, 23-11644
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State of Missouri

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State of North Dakota

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State of South Carolina



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                                   INTRODUCTION

       In this case, Florida challenges two materially identical parole policies—Parole

Plus Alternatives to Detention (“Parole+ATD”) and Parole with Conditions

(“PWC”)—that have resulted in the release of untold millions of inadmissible aliens

into the interior of the United States. This Court has requested supplemental briefing

on whether, “[i]n light of United States v. Texas, 599 U.S. 670 (2023), . . . Florida ha[s]

standing to challenge the parole policies at issue in these cases?” Supp. Br. Order 3. The

district court, on a fully developed record following a bench trial, faithfully applied Su-

preme Court and Eleventh Circuit precedent and concluded that Florida has standing

and that the United States’ parole policies are blatantly unlawful. United States v. Texas

does not call the district court’s standing ruling into question. The Court should reject

the United States’ latest effort to evade any judicial review of its unlawful immigration

policies and affirm the district court.

       In Texas, the Supreme Court considered a challenge by Texas and Louisiana to

DHS’s interior-immigration-enforcement policy known as the Guidelines for Enforce-

ment of Civil Immigration Law. 599 U.S. at 674. That policy directed DHS officials

engaged in interior enforcement—that is, the arrest and removal of aliens already in the

country—to prioritize the use of DHS resources on suspected terrorists, violent crimi-

nals, and aliens who had recently entered the country illegally. Id. at 673. The plaintiff

states sued, arguing that the policy violated the INA because it excluded from its prior-

ities, and thus implicitly directed officials not to arrest, certain categories of aliens that
                                              1
DHS is required to arrest under 8 U.S.C. §§ 1226(c) and 1231(a)(2). Id. at 674. The states

alleged that they suffered injury from the policy in the form of increased financial costs

sufficient to support standing. Id.

       The Supreme Court did not deny that the policy caused the states injury that

would be redressed by the requested relief. To the contrary, the Court acknowledged

that the monetary costs found by the district court to injure the state plaintiffs were “of

course an injury.” Id. at 676. But the Court held that those injuries were not “judicially

cognizable.” Id. at 676–77. The Court reached that conclusion because of unique “Ar-

ticle II problems raised by judicial review of the Executive Branch’s arrest and prose-

cution policies,” not because the states failed any of the three traditional elements of

standing. Id. at 679.

       In so concluding, the Supreme Court emphasized that its holding was “narrow.”

Id. at 686. The Court confined its holding to a “discrete” sort of policy: those governing

the Executive Branch’s traditional enforcement discretion to decide whether to make

an arrest or initiate enforcement proceedings. Id. at 684–85. The Court distinguished

and declined to consider whether it would extend its holding to suits challenging other

types of policies, including policies like the parole policies at issue here that confer on

aliens “legal status” or other “legal benefits” or that “govern[] the continued detention

of noncitizens who have already been arrested.” Id. at 683.

       Because the Supreme Court expressly declined to address policies like the parole

policies here, this Court remains bound by precedent predating Texas holding that such
                                            2
policies are subject to judicial review. See DHS v. Regents of the Univ. of Cal., 140 S. Ct.

1891, 1906–07 (2020) (holding that a policy that conferred benefits like work authori-

zation went beyond mere enforcement discretion and was thus subject to judicial review

under the APA); Chiles v. Thornburgh, 865 F.2d 1197, 1209–10 (11th Cir. 1989) (holding

that a governmental entity has standing to challenge policies governing detention of

aliens already in custody when policies result in release of aliens into the government’s

jurisdiction); see also United States v. Kaley, 579 F.3d 1246, 1255 (11th Cir. 2009) (explain-

ing that precedent remains binding unless “the intervening Supreme Court case actually

abrogate[s] or directly conflict[s] with, as opposed to merely weaken[s], the holding of

the prior panel”).

       Even apart from precedent, there is no basis to extend Texas’ standing bar to the

challenged policies here. Texas involved the Executive Branch’s historic discretion to

enforce federal law. But here, the challenged policies are much more than a mere failure

to enforce the law. They instead confer temporary legal status and other statutory ben-

efits in the form of parole. Grants of immigration status and benefits are exercises of

statutory authority, not exercises of Article II enforcement discretion. And in the statute

at issue here, Congress has carefully circumscribed that authority. See Cruz-Miguel v.

Holder, 650 F.3d 189, 199 n.15 (2d Cir. 2011) (explaining that the current parole statute

reflects limits added by Congress in 1996 due to a “concern that parole . . . was being

used by the executive to circumvent congressionally established immigration policy”).


                                              3
       Nor does Florida’s challenge here implicate the Executive Branch’s discretion

over whether to arrest and remove aliens. The aliens subject to the challenged policies

here are those the United States has already arrested and decided to remove. While the

Executive Branch may enjoy a long history of discretion over whether to enforce the

law, there is no similar historical tradition of exclusive Executive discretion over

whether to detain persons subject to enforcement proceedings. That has historically

been a judicial function.

       Because the Texas exception to ordinary Article III standing principles does not

apply, Florida has standing if it satisfies the traditional test: an injury traceable to the

policies that would be redressed by the requested relief. The district court did not clearly

err in finding Florida’s evidence sufficient to establish such an injury.

                              STANDARD OF REVIEW

       This Court reviews jurisdictional issues such as standing de novo but reviews any

factual findings underlying the jurisdictional determination for clear error. Am.’s Health

Ins. Plans v. Hudgens, 742 F.3d 1319, 1326 (11th Cir. 2014).

                                     ARGUMENT

I.     Texas does not apply because the challenged policies are not exercises of
       traditional enforcement discretion.

       In Texas, the Supreme Court denied Texas and Louisiana standing to challenge

the United States’ enforcement priorities governing the arrest and removal of aliens.

That holding is inapplicable here for two basic, independent reasons. First, the parole

                                             4
policies that Florida challenges represent the exercise of delegated statutory authority

to confer temporary legal status and accompanying benefits through parole, not Article

II enforcement discretion. Second, the challenged policies involve the continued deten-

tion of aliens whom DHS has already arrested and decided to remove, and so this suit

does not interfere with any arrest or removal decision. See App. 1–2, 5 (both memoranda

explaining that they apply to aliens in CBP custody who will be subject to removal

proceedings).

       A. The parole policies confer legal status and other benefits beyond mere
       nonenforcement.

       In Texas, the Supreme Court noted that policies that govern the “provision of

legal benefits or legal status” present a different issue than those that govern the Exec-

utive Branch’s enforcement priorities because such policies “implicate more than

simply the Executive’s traditional enforcement discretion.” 599 U.S. at 683. Conferring

legal status or providing benefits like work authorization to aliens is not a core executive

function. So the Article II concerns that prevented the plaintiffs from establishing

standing in Texas do not apply.

       1. The parole policies here do not govern the Executive Branch’s exercise of

enforcement discretion; they govern DHS’s provision of temporary legal status through

parole, which is accompanied by additional benefits like work authorization. Congress

created parole as a mechanism to confer temporary lawful presence in the United States

under limited circumstances. See 8 U.S.C. § 1182(a)(6)(A)(i), (d)(5). When DHS grants

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parole, the beneficiaries of that decision enjoy not merely temporary reprieve from en-

forcement, but an actual change in their legal status: They become lawfully present in

the United States, albeit temporarily. See 8 U.S.C. § 1182(a)(6)(A)(i) (defining an inad-

missible alien as one “present in the United States without being admitted or paroled”

(emphasis added)). By contrast, Texas involved decisions to decline to pursue enforce-

ment action against unlawfully present aliens. When DHS declines to do that, nothing

about the aliens’ legal status changes—they remain unlawfully present in the United

States.

          The distinction is significant because, unlike its authority to exercise enforcement

discretion, the Executive Branch has no inherent Article II authority to grant legal status

to unlawfully present aliens. Quite the opposite, regulating the legal status of aliens is a

core Article I function. See Kleindienst v. Mandel, 408 U.S. 753, 766 (1972) (“Over no con-

ceivable subject is the legislative power of Congress more complete than it is over the

admission of aliens.”). The Executive Branch’s power to confer legal status upon an

alien is the result of “sweeping delegations of congressional authority” rather than in-

herent Article II power. Jean v. Nelson, 727 F.2d 957, 965 (11th Cir. 1984) (en banc). And

here, Congress has constrained DHS’s delegated discretion to grant temporary legal

status through parole. As explained in Florida’s merits brief, Congress amended the

parole statute in 1996, adding the case-by-case requirement and narrowing the criteria

under which parole may be granted. Fla. Br. 33–34. Congress did so to restrain the

Executive Branch’s widespread use of parole “to admit entire categories of aliens” and
                                               6
to “end the use of parole authority to create an ad hoc immigration policy.” Fla. Br. 34

(quoting H.R. Rep. No. 104-469, at 140, 175 (1996)); see also Cruz-Miguel, 650 F.3d at

199 n.15 (Congress amended the parole statute out of “concern that parole . . . was

being used by the executive to circumvent congressionally established immigration pol-

icy.”). Indeed, the Supreme Court recently acknowledged in Biden v. Texas that DHS’s

use of parole is subject to statutory restraints and reviewable under the APA. 597 U.S.

785, 806–07 (2022) (“[U]nder the APA, DHS’s [use of parole] within that statutory

framework must be reasonable and reasonably explained.”).

         Unlike in Texas, then, DHS is not exercising enforcement discretion when it

grants legal status in the form of parole; it is exercising a carefully circumscribed dele-

gated legislative power. See 8 U.S.C. § 1182(d)(5). Challenging the Executive’s use of

delegated legislative authority is a black-letter example of a proper APA lawsuit, to

which the APA’s “basic presumption of judicial review” should attach, Regents, 140 S.

Ct. at 1905, rather than the exception to Article III standing principles recognized in

Texas.

         2. Not only does granting parole confer temporary legal status. It also renders

parolees potentially eligible for additional benefits like work authorization or supple-

mental nutrition assistance. 8 C.F.R. § 274a.12(c)(11); 7 C.F.R. § 273.4(a)(6)(i)(D). A

policy that results in benefits to aliens like the ability to “request work authorization” is

“more than simply a non-enforcement policy.” Regents, 140 S. Ct. at 1906. In Regents,

DHS argued that its Deferred Action for Childhood Arrivals policy—like the policy at
                                             7
issue in Texas—was merely an exercise of enforcement discretion and thus that the

decision to rescind the policy was unreviewable under the APA. Id. The Supreme Court

rejected that argument because DACA went beyond the exercise of traditional enforce-

ment discretion in that it granted access to additional benefits like eligibility for work

authorization.1 Id.

       In its reply brief on the merits in this Court, DHS did not dispute that policies

that grant benefits like work authorization fall outside the scope of the Texas standing

bar. DHS instead argued that the parole policies do not grant such benefits because a

separate regulation rather than the policies themselves allows parolees to request work

authorization. Reply Br. 5 n.1. But that was also true of the DACA policy challenged in

Regents. The DACA memorandum instructed immigration officials to defer enforce-

ment against certain childhood arrivals who were then eligible to request work author-

ization “under regulations long predating DACA’s creation.” Regents, 140 S. Ct. at 1902.

In fact, it is the same regulation that authorized DACA recipients to request work author-

ization that authorizes parolees to do the same. See 8 C.F.R. § 274a.12(c)(11), (14). By

rendering aliens eligible to request work authorization under that regulation, the parole


       1
        True, Regents considered only whether the policy recission was reviewable under
the APA and not whether the plaintiffs had standing to challenge it. But the Supreme
Court indicated in Texas that the same analysis applies “in both Article III cases and
Administrative Procedure Act cases,” 599 U.S. at 680, and cited Regents to support its
assertion that policies that grant benefits present a distinct standing question, id. at 683.
There is thus no basis for this Court to declare that, because of Texas, the Supreme
Court acted without jurisdiction in Regents when Texas itself distinguished Regents.

                                             8
memoranda like the DACA memorandum are subject to judicial review.2 And even if

the separate regulation made a difference, DHS cannot dispute that the parole memo-

randa directly confer the benefit of parole—i.e., temporary “legal status”—and on that

basis alone are not enforcement policies. Texas, 599 U.S. at 683.

       B. The parole policies govern only the continued detention of aliens DHS
       has already arrested.

       Texas not only distinguished policies that confer legal status and other affirmative

benefits, but also policies “governing the continued detention of noncitizens who have

already been arrested.” 599 U.S. at 683. DHS does not dispute that the parole memo-

randa are examples of such policies. They authorize release on parole for aliens arrested

after unlawfully crossing the border and against whom DHS plans to initiate removal

proceedings. See App. 1–2, 5. Unlike the policy at issue in Texas, then, the parole policies

do not govern DHS’s decisions about when to take enforcement action. They govern

what DHS will do with aliens after it has already initiated enforcement.

       In its reply, DHS hung its hat on the fact that Texas said only that a detention

policy “arguably might” be different than an enforcement policy for purposes of Article

III standing. Reply Br. 5 n.1. That argument overlooks binding precedent of this Court,



       2
         That is not to say that Florida’s injury necessarily stems from the policies’ pro-
vision of work authorization. But see App. 368 (finding that the challenged policies likely
caused Florida to spend additional resources on unemployment benefits). The point is
simply that, in providing benefits like work authorization, the parole policies are not
exercises of executive enforcement discretion and thus are not subject to Texas’ stand-
ing bar.
                                              9
which the Supreme Court’s statement did not even arguably disturb. In Chiles, this Court

held that Dade County had standing to sue the federal government to challenge its

immigration-detention policies when those policies allegedly enabled the escape of de-

tainees, causing the county to expend law-enforcement resources. 865 F.2d at 1209–10.

So too here, Florida challenges two of the federal government’s immigration-detention

policies because they have resulted in detainees leaving federal custody to Florida, caus-

ing Florida to expend resources. At the very least, Texas does not “clearly” and “actually

conflict” with Chiles, and panels of this Court must therefore continue to apply it. United

States v. Lawson, 686 F.3d 1317, 1319 (11th Cir. 2012). Ignoring Chiles because of Texas’

“reasoning,” Supp. Br. Order 3, would be “less an application of existing precedent

than a prediction of what the Supreme Court will hold should it choose to address this

issue in the future” and akin to the panel’s “tak[ing] the en banc court’s role for itself.”

Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d 1257, 1289 & n.12 (11th Cir. 2020) (Wilson,

J., dissenting). And it would be an odd prediction indeed considering that the Supreme

Court recently reached the merits of a challenge to an immigration-detention policy in

Biden, 597 U.S. 785, and then cited that case in Texas to support distinguishing enforce-

ment and detention policies for purposes of standing. 599 U.S. at 683.

       That distinction makes sense. In Texas, the Court was concerned that Texas’ law-

suit would intrude on the Executive’s constitutional discretion to decide “whether to

remove [an alien] from the United States.” Id. at 679. The enforcement guidelines at

issue in that case governed DHS’s decision whether to arrest and initiate removal
                                            10
proceedings in the first place, but they did not authorize the release of aliens already in

custody pending removal proceedings. Id. at 683 n.5. Here, by contrast, Florida chal-

lenges only detention policies applicable to aliens whom the United States has already

arrested for the purpose of initiating removal proceedings. And while the Executive

enjoys a long historical tradition of enforcement discretion, it enjoys no similar tradition

of discretion over detention pending enforcement proceedings.

       On the contrary, since before the Founding, the judiciary has decided when and

under what circumstances persons will be detained pending enforcement proceedings

even though the Executive decides whether to pursue those enforcement proceedings

in the first place. See 4 William Blackstone, Commentaries on the Laws of England 293–97

(1769) (explaining that courts either set bail or committed criminal defendants to con-

finement pending trial); 18 U.S.C. § 3142 (requiring federal courts to determine whether

criminal defendants will be detained or released pending trial); Gonzalez v. McHenry

County, 40 F.4th 824, 829 (7th Cir. 2022) (“[C]ourts, not sheriffs, make pretrial detention

decisions.”). So any authority the Executive Branch enjoys over what is akin to pretrial

detention in the immigration context is a creature of statute, not inherent historical or

constitutional authority. See 8 U.S.C. §§ 1225(b)(1)(B)(ii), (2)(A); 1226(a), (c). Because

detention policies like the parole policies do not implicate a longstanding Article II tra-

dition of Executive Branch discretion in the same way that enforcement priorities do,

Texas does not bar plaintiffs injured by unlawful detention policies from establishing

standing to challenge them.
                                            11
II. Florida has standing to challenge the parole policies.

       Because Texas is inapplicable, Florida can establish standing by showing that it

has “(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct

of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). The district court correctly concluded

that Florida met its burden.

       A. Florida suffered an injury in fact traceable to DHS’s parole policies.

       The district court correctly concluded that DHS’s policies authorizing the mass

parole of aliens into Florida impose financial costs on Florida as well as injure Flor-

ida’s quasi-sovereign interest in its territory and the presence and movement of unau-

thorized aliens within its borders.

       1. The district court did not clearly err in finding that the challenged policies

imposed monetary costs on Florida, which “are of course an injury.” Texas, 599 U.S. at

676. As explained in Florida’s brief on the merits, the undisputed evidence before the

district court showed that in just the first nine months after adopting the first iteration

of the challenged policies, DHS used the policies to parole around 80,000 aliens into

Florida.3 Fla. Br. 16 & n.5. The evidence also showed that the number of “immigrant


       3
         As explained in Florida’s merits brief, the 80,000 figure comes from DHS’s own
data and refers to the number of aliens who were released specifically under Parole+ATD
during the first nine months of that policy and either had pending proceedings at ICE’s
Miami field office or had reported a Florida address and failed to later report for immi-
gration proceedings. Fla. Br. 16 n.5 (citing Doc. 85-10 in No. 3:21-cv-1066). The 80,000
figure is thus directly attributable to Parole+ATD.
                                             12
students” in Florida public schools—a category that includes parolees released under

the challenged policies—increased by 17,000 over that time. Fla. Br. 18. Additional stu-

dents require additional funding, which comes to roughly $8,000 per student to provide

public education. Fla. Br. 18–19. Presented with this evidence, the district court found

that Florida had shown by a preponderance of the evidence that the parole policies

caused at least some increase in state education expenditures. App. 367–68. The court

also found by a preponderance of the evidence that at least some of the more than

80,000 parolees released into Florida under the policies would commit crimes, seek un-

employment benefits, and obtain Medicaid-funded emergency medical care, further

causing the State to expend resources. App. 368–69.

       In resisting the district court’s factual findings, DHS attempts to evade clear-

error review, ratchet up the burden of proof to an unheard-of beyond-all-doubt stand-

ard, and prohibit the factfinder from drawing any inferences from the evidence what-

soever. According to DHS, the district court could not find traceability unless Florida

named a specific public-school student who came to Florida under the challenged pol-

icies and pointed to a specific expenditure that was made because of that student. See

Reply Br. 6.

       But plaintiffs have never been required to establish standing to that degree of

certainty. In Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Engineers, for instance,

this Court rejected as not a “serious argument” the claim that an environmental plaintiff

needed to identify specific molecules of pollutants released by the defendants that
                                            13
contributed to the injury; all the plaintiff needed to show was that the defendants “dis-

charge[d] a pollutant that causes or contributes to the kinds of injuries alleged in the

specific geographic area of concern.” 781 F.3d 1271, 1280 (11th Cir. 2015). And that

makes sense because, as with proving any aspect of a civil claim, the burden of proof

to establish standing is a preponderance of the evidence. Campaign Legal Ctr. v. Scott, 49

F.4th 931, 935 (5th Cir. 2022); Bazile v. Fin. Sys. of Green Bay, Inc., 983 F.3d 274, 278 (7th

Cir. 2020); Miller v. Thurston, 967 F.3d 727, 735 (8th Cir. 2020). To prove a fact by a

preponderance of the evidence, a plaintiff need only convince the factfinder that “the

existence of a fact is more probable than its nonexistence” or, in other words, that the

fact “is more likely true than not true.” United States v. Watkins, 10 F.4th 1179, 1184–85

(11th Cir. 2021) (en banc). And in determining whether a fact is more likely true than

not true, the factfinder may of course “draw reasonable and logical inferences from the

evidence.” Auto-Owners Ins. Co. v. Se. Floating Docks, Inc., 571 F.3d 1143, 1155 (11th Cir.

2009).

         That is exactly what the district court did. The evidence showed that more than

80,000 aliens, including many family units,4 were paroled into Florida under the chal-

lenged policies, that immigrant-student enrollment in public schools correspondingly

increased by 17,000, and that Florida spends around $8,000 per student on public edu-

cation. Thus, the only inference left for the district court to draw was that it was more


       The first iteration of Parole+ATD was purportedly limited to family units. App.
         4

511–12.
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likely than not that at least some of the 17,000 immigrant students were part of the

more than 80,000 parolees released into Florida under the policies.5 That inference was

reasonable, and because of the “unchallenged superiority of the district court’s factfind-

ing ability,” this Court owes it “great deference.” Keohane, 952 F.3d at 1279 (Wilson, J.,

dissenting) (citation omitted). The opposite conclusion—that it is more likely that not

one of the more than 80,000 parolees released into Florida under the policies was part

of the corresponding 17,000 immigrant-student spike in public schools—would be so

implausible as to be unreasonable. But even if DHS somehow believes that to be the

better inference, it cannot have this Court “usurp[] the role of the district court,” “re-

weigh the facts,” and “supplant the district court’s findings with [its] own.” Id. The

district court did not err—let alone clearly so—by inferring the obvious.6 And as a mat-

ter of law, such financial injuries are fully adequate to support state standing to sue. See

Dep’t of Com. v. New York, 139 S. Ct. 2551, 2565 (2019) (holding that New York had

standing to challenge a census question because the question could lead to lower



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         Although the district court determined that Florida was entitled to special so-
licitude in establishing traceability and redressability, it made clear in both its original
order and its indicative ruling requested by this Court that its conclusion did not depend
on that. App. 377; Doc. 86-2 at 2 n.1 in No. 23-11528. In finding that Florida met its
burden to establish traceability and redressability, the district court simply applied this
Court’s decision in Black Warrior Riverkeeper, which was not a special-solicitude case.
App. 377.
       6
         In Texas, the Supreme Court observed that a “State’s claim for standing can
become more attenuated” when asserting an indirect financial injury from a federal pol-
icy. 599 U.S. at 680 n.3. But that simply means that such injuries can be more difficult
to prove. Here, the district court found that Florida met its burden.
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participation in the census, which could lead to a population undercount, which could

lead to New York’s receiving less funding from the federal government).

         2. Although Florida’s financial injuries are sufficient to establish standing, the

district court also correctly concluded that the challenged policies inflict on Florida a

quasi-sovereign injury. By virtue of their sovereign status, sovereigns have interests that

other entities do not and can suffer harms to those unique interests that amount to

injury. These sovereign and quasi-sovereign injuries can be “intangible” but are “none-

theless concrete.” West Virginia v. U.S. Dep’t of Treasury, 59 F.4th 1124, 1136 (11th Cir.

2023).

         One such example is the quasi-sovereign interest states have in the federal gov-

ernment’s exercise of sovereign authority ceded to it by the states. States cede certain

sovereign prerogatives to the federal government when they join the union. Massachu-

setts v. EPA, 549 U.S. 497, 519 (2007). But as the Supreme Court has made clear, ceding

power does not mean that the state cedes the interest that the power protects. See id. It

simply means that states must rely on the federal government to protect those interests.

And when the federal government unlawfully exercises that ceded authority in a manner

that harms rather than protects the states’ interests, the states suffer a cognizable injury.

See id. at 519–20 & n.17. As explained in Florida’s brief on the merits, regulating migra-

tion is a sovereign power, many aspects of which Florida ceded to the federal govern-

ment by joining the union. Fla. Br. 16–17. But that does not mean that Florida ceded

its interest in preventing the unlawful presence of persons in its borders. By issuing
                                             16
policies that permit DHS officials to unlawfully grant temporary legal status en masse

and release hundreds of thousands of aliens into Florida, DHS injured that quasi-sov-

ereign interest.

       In its reply brief, DHS misunderstood Florida’s assertion of a quasi-sovereign

injury as invoking special solicitude in the standing analysis. Reply Br. 3–4. Those are

not the same. Special solicitude merely relaxes the burden to show immediacy and re-

dressability of the asserted injury when a state asserts a quasi-sovereign injury, but it has

no effect on the state’s burden to show a cognizable injury, sovereign or otherwise.

Louisiana v. Nat’l Oceanic & Atmospheric Admin., 70 F.4th 872, 882 (5th Cir. 2023). The

recognition that states can suffer cognizable injuries that are intangible is not an appli-

cation of special solicitude. It simply reflects that sovereigns have intangible interests

that non-sovereign entities lack and that those interests can still be harmed. See West

Virginia, 59 F.4th at 1136 (not mentioning special solicitude). Florida’s assertion of a

quasi-sovereign injury therefore does not depend on receiving special solicitude.

       In this Court’s order requesting supplemental briefing, it asked “whether Flor-

ida’s quasi-sovereign interest is meaningfully different than the one asserted by Texas.”

Supp. Br. Order 3. It is. The states lacked standing in Texas because “a party lacks a

judicially cognizable interest in the prosecution . . . of another.” Texas, 599 U.S. at 687

(Gorsuch, J., concurring in judgment) (alteration in original) (quoting the fundamental

holding of the majority). As explained above, Florida does not challenge DHS’s failure

to prosecute anyone. It challenges the DHS’s willful failure to comply with Congress’s
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parole statute as to aliens DHS has independently decided should be removed, which

has resulted in the release of millions of inadmissible aliens into the interior of the

United States.

       The Supreme Court in Texas never questioned that states suffer grave injury,

quasi-sovereign and otherwise, when the federal government violates its obligations to

enforce federal immigration law. To the contrary, the Court accepted the district court’s

finding that the states suffered a factual injury but then explained that not all factual

injuries are judicially cognizable. Texas, 599 U.S. at 676. The states’ injuries in Texas were

not judicially cognizable only because of the nature of the policy they were challenging.

See id. at 685 n.6. For that reason, the Supreme Court explained that the states’ asserted

injuries may have been sufficient to support standing had the states—like Florida

here—challenged different kinds of immigration policies. See id. at 681–83.

       B. Florida’s injuries are redressable.

       In Texas, three Justices concluded that the plaintiff states lacked standing not

because they failed to assert a judicially cognizable injury, but because vacating the chal-

lenged guidelines would not redress their injuries. 599 U.S. at 689–90 (Gorsuch, J., con-

curring in judgment). They reasoned that the guidelines governing which aliens to arrest

and remove merely advised immigration officials on how to exercise their enforcement

discretion and that officials could continue to exercise their discretion in the same way

even in the absence of the formal policy. Id. at 691. A majority of Justices did not sign


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onto those separate views, which have no precedential effect. But in any event, those

concerns are not present here.

       1. Florida has at minimum established partial redressability, which is sufficient to

establish standing. Uzuegbunam v. Preczewski, 141 S. Ct. 792, 801 (2021). The concurring

Justices in Texas thought that vacating the challenged policy would not redress the

states’ injuries because the Justices believed that immigration officials could simply con-

tinue enforcing immigration law in the manner prescribed by the policy even in its ab-

sence. That is not the case with the parole policies here.

       DHS’s current regulatory regime for granting parole does not authorize parole

for the category of aliens for which the challenged memoranda authorize it: namely,

aliens who are apprehended after crossing the border between ports of entry and have

not yet been placed in removal proceedings. Parole is governed by 8 C.F.R. § 212.5.

Section 212.5(b) authorizes granting parole only to aliens detained under section

235.3(b) and (c), i.e., aliens who are already in removal proceedings. Section 212.5(c)

authorizes granting parole to “all other arriving aliens,” which is defined in 8 C.F.R.

§ 1.2 to mean only aliens arriving at a port of entry or interdicted on international or

United States waters, i.e., not aliens who are apprehended after crossing between ports

of entry on land. The challenged parole memoranda, on the other hand, authorize pa-

role for aliens who crossed between ports of entry who have not yet been placed in

removal proceedings—a category of aliens for whom existing regulations do not


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authorize parole. Thus, without the challenged memoranda, DHS officials lack author-

ity to grant parole to this category of aliens.7

       True, without the memoranda authorizing mass grants of parole at the southern

border, DHS may still rely on its other preferred method of unlawfully releasing aliens

with pending removal proceedings: purporting to release them under 8 U.S.C.

§ 1226(a).8 But as the district court explained, DHS’s theory of release under section

1226(a) requires that DHS first initiate removal proceedings by issuing a notice to ap-

pear before releasing the alien. App. 403–04; see also § 1226(a) (applying to aliens who

have been “detained pending a decision on whether the alien is to be removed from the

United States”). That is a significant difference from release on parole under the parole

memoranda, which occurs before the initiation of removal proceedings. App. 2, 5. The

district court found that by releasing aliens on parole before issuing a notice to appear,


       7
          DHS’s publicly available data also reflect that the challenged memoranda are
necessary to grant mass parole to aliens apprehended at the border prior to initiating
removal proceedings. While Parole+ATD was in effect from October to December
2022, Border Patrol granted parole to an average of around 100,000 aliens encountered
at the border per month. And in the two days PWC was in effect in May 2023, Border
Patrol granted parole to around 9,000 aliens apprehended at the border. But after the
district court’s entry of a preliminary injunction against implementing PWC, those num-
bers immediately plummeted to an average of five parole grants per month. See U.S.
Customs and Border Prot., Custody and Transfer Statistics FY2023, https://ti-
nyurl.com/7fsdzyf3 (under tab titled “U.S. Border Patrol – Disposition and Trans-
fers”). DHS apparently agrees that without the challenged memoranda, it cannot grant
parole on anywhere near the same scale.
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          Florida also challenged DHS’s use of section 1226(a), and the district court
agreed that it was unlawful but concluded that there was no final agency action imple-
menting section 1226(a) as a release mechanism that could be subject to APA review.
App. 406–07.
                                              20
the parole policies were creating an exponentially increasing backlog that could lead to

years of delay before a notice to appear is ever issued. App. 419. But aliens purportedly

released under section 1226(a) will already be in removal proceedings and thus will not

remain in Florida for as long as those granted parole under the challenged memoranda.

App. 380, 419. Invalidating the parole policies thus at least provides Florida partial re-

dress. It means that, at the very least, aliens would be removed more quickly than they

are currently being processed under DHS’s unlawful use of the parole authority.

       2. Even if DHS officials had legal authority to continue to grant mass parole in

the same manner without the policies, that would not defeat standing. Redressability

means that the judgment is capable of providing relief from the asserted injury, not that

“the practical impact of [the] decision is . . . assured.” Chafin v. Chafin, 568 U.S. 165, 175

(2013). Otherwise, one would never have standing to sue a foreign government or an

insolvent person because it would never be clear that the court could provide any re-

dress as a practical matter. See id. at 175–76. The source of Florida’s current injuries is

the parole memoranda. Vacating or enjoining their implementation redresses that in-

jury. That DHS could hypothetically inflict the same injury in a different manner in

response to the Court’s judgment does not change that. And if DHS did continue pa-

roling aliens en masse in the same manner without the policies, that would be every bit

as unlawful as that practice is with them. See Del Valle v. Trivago GMBH, 56 F.4th 1265,

1278 (11th Cir. 2022) (When evaluating standing, the Court must “assume that the


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plaintiff[] would be successful on the merits.”). As the district court aptly put it, “[j]udi-

cial review . . . should not be a game of ‘whack-a-mole.’” App. 486 n.11.

       3. Even if there were otherwise problems with establishing redressability for

Florida’s substantive claims, Florida would still have standing to bring its procedural

claims under the APA: claims that the parole memoranda were arbitrary and capricious

and unlawfully issued without notice and comment. When a plaintiff asserts a concrete

injury along with a procedural claim, the plaintiff can establish standing “without meet-

ing the usual standards for redressability and immediacy.” Dep’t of Educ. v. Brown, 600

U.S. 551, 561 (2023); accord Ctr. for Sustainable Coast v. U.S. Army Corps of Eng’rs,

— F.4th —, 2024 WL 1918733, at *1 (11th Cir. 2024). For example, someone who lives

next to a proposed dam-construction site would have standing to sue the licensing

agency for failure to create an environmental impact statement even though the license

may still be approved after the impact statement is created. Brown, 600 U.S. at 561. In

other words, the fact that a defendant may inflict the injury anyway after going through

the required procedures does not deprive the plaintiff of standing to sue for failure to

go through those procedures. Id. at 561–62. Therefore, at minimum, Florida has stand-

ing to bring its arbitrary-and-capricious and notice-and-comment claims.

                                     CONCLUSION
       Florida has standing to challenge DHS’s parole policies.




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Dated: May 6, 2024    Respectfully submitted,

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      I certify that on May 6, 2024, I electronically filed this document with the Clerk

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